Case 9:19-cv-80279-RLR Document 4 Entered on FLSD Docket 02/28/2019 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 9:19-cv-80279-ROSENBERG/REINHART

 PRESLEY LAW AND
 ASSOCIATES, P.A.,

      Plaintiff,

 v.

 WELLINGTON RESERVE, LLC,

    Defendant.
  ____________________________/

                              ORDER DISMISSING COMPLAINT

          This cause is before the Court on a sua sponte review of the Complaint for subject matter

 jurisdiction. See Univ. of S. Ala. v. Am. Tobacco Co., 168 F.3d 405, 410 (11th Cir. 1999) (stating

 that “a court should inquire into whether it has subject matter jurisdiction at the earliest possible

 stage in the proceedings” and that “a federal court is obligated to inquire into subject matter

 jurisdiction sua sponte whenever it may be lacking”).         Plaintiff relies on federal question

 jurisdiction as a basis for this Court’s subject matter jurisdiction. See DE 1 at 2; see also

 28 U.S.C. § 1331. However, Plaintiff raises common law claims of breach of contract and

 breach of the implied warranty of good faith and fair dealing. See DE 1 at 5. Plaintiff also

 alleges violations of criminal laws, but fails to provide the basis for a private cause of action for

 any of the alleged criminal violations. See id. at 2-3. Plaintiff has failed to demonstrate this

 Court’s subject matter jurisdiction. See Sweet Pea Marine, Ltd. v. APJ Marine, Inc., 411 F.3d

 1242, 1247 (11th Cir. 2005) (“The burden for establishing federal subject matter jurisdiction

 rests with the party bringing the claim.”).
Case 9:19-cv-80279-RLR Document 4 Entered on FLSD Docket 02/28/2019 Page 2 of 2



           Accordingly, it is hereby ORDERED AND ADJUDGED:

                 1. Plaintiff’s Complaint [DE 1] is DISMISSED.

                 2. The Clerk of the Court is instructed to CLOSE THIS CASE.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 28th day of

 February, 2019.


                                                      _______________________________
                                                      ROBIN L. ROSENBERG
                                                      UNITED STATES DISTRICT JUDGE
 Copies furnished to Counsel of Record




                                                  2
